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                                                                                          FILED
                              UNITED STATES DISTRICT COURT                             JUL 21 2016
                              EASTERN DISTRICT OF MISSOURI
                                                                                    . U.~. O!STRICT COURT
                                 SOUTHEASTERN DIVISION                             EMiERN DISTRICT OF !lAO
                                                                                        CAPE GIRARDEAU
UNITED STATES OF AMERICA,                       )
                                                )
                        Plaintiff,              )
                                                )
                        v.                      )     No.1 :I5CR86 RLW
                                                )
JUSTIN MILLER                                   )
SSN xxx-xx-1151                                 )
302 CENTRAL                                     )
HORNERSVILLE, MO 63855,                         )
                                                )
                        Defendant,              )
                                                )
                        and                     )
                                                )
ROUSE FARMS                                     )
14238 COUNTY ROAD 620                           )
HORNERSVILLE, MO 63855                          )
ATTN: PAYROLL/GARNISHMENTS,                     )
                                                )
                        Garnishee.              )

                                      GARNISHEE ORDER

        A Writ of Garnishment, directed to Garnishee, has been duly issued and served upon the

Garnishee.    Pursuant to the Writ of Garnishment, the Garnishee filed an Answer on or about

July 19, 2016, stating that at the time of the service of the Writ it had in its possession or under

its control personal property belonging to and due defendant, and that garnishee was indebted to

defendant in the sum of$561.27, weekly.

        On June 14, 2016, the defendant was notified of his right to a hearing to determine

exempt property.    Defendant has not requested a hearing.

        IT IS ORDERED, ADJUDGED AND DECREED that Garnishee shall make payable to

the Clerk, U.S. District Court the sum of twenty-five percent (25%) of defendant's non-exempt
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net disposable wages to plaintiff and continue said payments until the debt to the plaintiff is paid

in full or until the garnishee no longer has custody, possession or control of any property

belonging to the debtor or until further Order of this Court.     A check shall be issued to the

Clerk, U.S. District Court, III South 10th Street, Room 3.300, St. Louis, MO 63102, within ten

(I 0) days of the order of this Court.

         IT IS FURTHER ORDERED that Garnishee is to serve notice on the U.S. Attorney's

Office, III South 10th Street, 20th Floor, St. Louis, MO 63102, if the payments pursuant to this

Order stop prior to the full satisfaction of the debt to the plaintiff.



Dated:    '1 - .), I - lu 	                      GREGORY 1. LINHARES
                                                 Clerk, U. S. District Court



                                                  By:   ~.A.C>"      de   C 0 .hJ;:l...A ,
                                                        Deputy Clerk
